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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                          Case No. 17-43883-lsg

 Ricky Wyche                                     Chapter 13

 Debtor.                                         Judge Lisa S. Gretchko

                                     PROOF OF SERVICE

       The undersigned does hereby certify that a copy of the Notice of Mortgage Payment
Change has been duly electronically serviced, noticed or mailed via U.S. First Class Mail,
postage prepaid on April 13, 2021 to the following:

          Ricky Wyche, Debtor
          P.O. Box 24136
          Detroit, MI 48224

          Richard Clark, Debtor’s Counsel
          richclark@clarkclarklaw.com

          David Wm Ruskin, Trustee
          Ecf-emails@det13.com

          United States Trustee’s Office
          (registeredaddress)@usdoj.gov

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (OH 0083702)
                                                 Sottile & Barile, Attorneys at Law
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